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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                   PINE BLUFF DIVISION

ROMIE GRADY                                                                          PLAINTIFF
ADC #100730

v.                                     5:17CV00273-JM

WENDY KELLEY, Director,
Arkansas Department of Correction; et al.                                        DEFENDANTS

                                            ORDER

       The Court has reviewed the Proposed Findings and Recommended Disposition submitted

by United States Magistrate Judge Joe J. Volpe.    No objections have been filed.   After careful

consideration, the Court concludes that the Proposed Findings and Recommended Disposition

should be, and hereby are, approved and adopted in their entirety as this Court's findings in all

respects.

       IT IS, THEREFORE, ORDERED that:

       1.      Defendants’ Motion for Summary Judgment (Doc. No. 68) is GRANTED.

       2.      Plaintiff’s remaining claims are DISMISSED WITH PREJUDICE, except that his

state law claims are DISMISSED WITHOUT PREJUDICE.

       3.      Plaintiff’s cause of action (Doc. No. 6) is DISMISSED.

       4.      The Court certifies, pursuant to 28 U.S.C. § 1915(a)(3), that an in forma pauperis

appeal from this Order adopting the recommendations or the accompanying Judgment would not

be taken in good faith.

               IT IS SO ORDERED this 29th day of October, 2018.


                                                    ______________________________
                                                    James M. Moody Jr.
                                                    United States District Judge
